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Cash Receipt Type      Status        Stock Number                  Customer Number   Customer Name                 Receipt Number   Receipt Date Mode of Payment             Amount          Comment                             Cashier                   Cash in Bank Account
                                                                                                                                                Total $ recorded in DMS      $ 559,729.77
                                                                                                                                                Total reconciled to bank     $ (25,610.00)
                                                                                                                                                Total unreconciled           $ 534,119.77
Deals Cash Receipt     DRAFT         SU0992                                  292066 DAWN WHYTE BENJAMIN                            04/01/23     Cash                         $     1,000.00                                    EMP_111_D ‐ ANDY V           See notes
Deals Cash Receipt     DRAFT         SU0945                                  292059 Hernan Flores Ruiz                             04/01/23     Cash                         $     1,900.00                                    EMP_111_D ‐ ANDY V           See notes
Deals Cash Receipt     DRAFT         Dead deal/customer refunded             292067 JOSEPH KERWIN                                  04/01/23     Cash                         $       960.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     OUTSTANDING   SU1010                                  291975 max services corp Marco              700012744 04/03/23     Cheque                       $    10,000.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     DRAFT         SU0992                                  292066 DAWN WHYTE‐BENJAMIN                            04/03/23     Cash                         $       500.00                                    EMP_111_D ‐ ANDY V           See notes
Deals Cash Receipt     DRAFT         SU0937                                  292190 KARLA MARTINEZ CARRASCO                        04/06/23     Cash                         $    10,000.00                                    SYSTEMUSER ‐ WIllie R        No
Deals Cash Receipt     DRAFT         SU0937                                  292190 KARLA MARTINEZ CARRASCO                        04/07/23     Cash                         $     5,500.00                                    EMP_111_D ‐ ANDY V           No
Deals Cash Receipt     DRAFT         SU1055                                  292071 Javeil Green                                   04/08/23     Cash                         $     2,000.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     DRAFT         SU1000                                  292265 Jennifer Saint‐juste                           04/13/23     Cash                         $     6,000.00                                    EMP_111_D ‐ ANDY V           No
Deals Cash Receipt     ERROR         SU1189                                  292408 Manuel Romo Gonzalez                           04/13/23     Cheque                       $    20,000.00                                    EMP_111_D ‐ ANDY V           No
Deals Cash Receipt     DRAFT         SU0868                                  292414 GABRIELLE ARONOVA                              04/13/23     Cash                         $       100.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     OUTSTANDING   SU0868                                  292414 GABRIELLE ARONOVA                    700012778 04/14/23     Cheque                       $    34,093.78                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     DRAFT         SU0937                                  292357 Christopher Mendoza Carrasco                   04/15/23     Cash                         $       500.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     DRAFT         SU1057                                  292478 DANA GARRISON                                  04/16/23     Cash                         $       500.00                                    EMP_111_D ‐ ANDY V           No
General Cash Receipt   OUTSTANDING   No deal/"spiffs"                       1001685 NATION MOTOR CLUB LLC                700012785 04/18/23     Business Check               $       600.00 COMM MARCH 2023                    1210 ‐ KENDRA K              No
Deals Cash Receipt     OUTSTANDING   SU1057                                  292544 William Garrison                     700012803 04/19/23     Cheque                       $    20,000.00                                    EMP_111_D ‐ ANDY V           No
Deals Cash Receipt     DRAFT         SU1105                                  292554 Marc Adams                                     04/19/23     Cash                         $     4,000.00                                    EMP_111_D ‐ ANDY V           No
Deals Cash Receipt     DRAFT         SU1121                                  292537 timothy Jenkins                                04/22/23     Cash                         $     1,400.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     DRAFT         SU0985                                  292641 Mike Chen                                      04/22/23     Cash                         $       500.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     DRAFT         SU1111                                  292675 MARK LANDELL                                   04/24/23     Cash                         $       500.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     OUTSTANDING   SU0751                                  292634 VANESA CARRILLO                      700012813 04/24/23     Cheque                       $     9,000.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     DRAFT         SU1111                                  292675 MARK LANDELL                                   04/26/23     Cash                         $     6,000.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     DRAFT         SU1113                                  292772 MARIA GIURLANDO                                04/27/23     Cash                         $    10,000.00                                    EMP_111_D ‐ ANDY V           No
Deals Cash Receipt     DRAFT         SU1113                                  292772 MARIA GIURLANDO                                04/27/23     Cash                         $     2,500.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     DRAFT         SU1112                                  292780 JAMES DAUGHETY                                 04/27/23     Cash                         $     7,500.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     OUTSTANDING   SU0972                                  292779 ORLANDO JIMENEZ                      700012823 04/28/23     Cheque                       $     7,000.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     DRAFT         SU0947                                  292526 FELISHA WOODARD                                04/28/23     Cash                         $       620.00                                    4008754 ‐ EUGENE LOWE No
Deals Cash Receipt     DRAFT         SU1116                                  292815 Franklin Gonzalez                              04/29/23     Cash                         $     5,000.00                                    4008754 ‐ EUGENE LOWE No
                                                                                                                                                                             $   167,673.78 **Deposit on 4/24/23 in the amount $3400.00, Possibly entries highlighted green

Deals Cash Receipt     DRAFT         SU0965                                  292778 LAVERNE WASHINGTON                             05/01/23     Cash                         $     1,400.00                                      4008754 ‐ EUGENE LOWE     No
General Cash Receipt   OUTSTANDING   SU1064                                  292274 SPASOJE ZURIC                        700012836 05/05/23     Cashier Check                $    29,227.40 ZURIC SU1064                         1210 ‐ KENDRA K           No
General Cash Receipt   OUTSTANDING   No deal/ wty refund                            GWC WARRANTY                         700012837 05/05/23     Business Check               $       610.00 ROSE KU290410                        1210 ‐ KENDRA K           Yes
Deals Cash Receipt     DRAFT         SU1108                                  292919 Adrian Lopez                                   05/05/23     Cash                         $     2,000.00                                      EMP_111_D ‐ ANDY V        No
Deals Cash Receipt     DRAFT         SU1061                                  292991 Vinroy Allen                                   05/08/23     Cash                         $     2,000.00                                      4008754 ‐ EUGENE LOWE     No
Deals Cash Receipt     DRAFT         ???                                     292994 Warren Neal                                    05/08/23     Cash                         $     1,000.00                                      4008754 ‐ EUGENE LOWE     No
Deals Cash Receipt     OUTSTANDING   SU854                                   292617 NIMROD EZUZ                          700012852 05/08/23     Cheque                       $    13,000.00                                      4008754 ‐ EUGENE LOWE     No
Deals Cash Receipt     OUTSTANDING   SU1016                                  292957 CHANDRAWATTIE MANOHAR                700012853 05/08/23     Cheque                       $    15,000.00                                      4008754 ‐ EUGENE LOWE     No
Deals Cash Receipt     DRAFT         ???                                    1001610 L & F Luxury Auto                              05/09/23     Cash                         $     1,550.00                                      4008754 ‐ EUGENE LOWE     No
Deals Cash Receipt     DRAFT         SU0994                                  293030 Elzbieta Ciftcikal                             05/09/23     Cash                         $     2,000.00                                      EMP_111_D ‐ ANDY V        No
Deals Cash Receipt     DRAFT         SU0900                                  292994 BEULAH REEVES                                  05/12/23     Cash                         $     4,500.00                                      4008754 ‐ EUGENE LOWE     No
Deals Cash Receipt     DRAFT         SU0900                                  292994 BEULAH REEVES                                  05/12/23     Cash                         $     4,000.00                                      4008754 ‐ EUGENE LOWE     No
Deals Cash Receipt     DRAFT         SU0877                                  293122 KEVARIE LESLIE                                 05/12/23     Cash                         $     1,000.00                                      4008754 ‐ EUGENE LOWE     No
Deals Cash Receipt     DRAFT         SU1028                                  293166 AMATUL BASHIR                                  05/15/23     Cash                         $     1,500.00                                      EMP_111_D ‐ ANDY V        No
Deals Cash Receipt     DRAFT         SU1103                                  293046 Amanda Saunders                                05/15/23     Cash                         $     1,500.00                                      EMP_111_D ‐ ANDY V        No
Deals Cash Receipt     DRAFT         SU1146                                  292982 Jullian Sanabia                                05/15/23     Cash                         $     3,500.00                                      EMP_111_D ‐ ANDY V        No
Deals Cash Receipt     DRAFT         SU1167                                  292869 CRAIG MUIR                                     05/16/23     Cash                         $     2,000.00                                      EMP_111_D ‐ ANDY V        No
Deals Cash Receipt     OUTSTANDING   SU0877                                  293122 KEVARIE LESLIE                       700012882 05/17/23     Cheque                       $     9,500.00                                      EMP_111_D ‐ ANDY V        No
Deals Cash Receipt     DRAFT         SU1109                                  293283 FREDI ALEKSI                                   05/17/23     Cash                         $       500.00                                      4008754 ‐ EUGENE LOWE     No
Deals Cash Receipt     DRAFT         SU0981                                  293303 ANTHONY BLAGROVE                               05/18/23     Cash                         $       500.00                                      4008754 ‐ EUGENE LOWE     No
Deals Cash Receipt     DRAFT         SU1109                                  293283 FREDI ALEKSI                                   05/18/23     Cash                         $     6,800.00                                      4008754 ‐ EUGENE LOWE     No
Deals Cash Receipt     DRAFT         SU1165                                  293336 YUGESHWAR PERSAUD                              05/19/23     Cash                         $     1,000.00                                      EMP_111_D ‐ ANDY V        No
Deals Cash Receipt     DRAFT         SU1165                                  293337 POORANDAS SHEOPAL                              05/20/23     Cash                         $     6,000.00                                      EMP_111_D ‐ ANDY V        No
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Deals Cash Receipt     OUTSTANDING   SU1141                          293355 COSMIN TOMESCU                         700012891 05/22/23   Cheque                       $    10,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1165                          293337 POORANDAS SHEOPAL                                05/22/23   Cash                         $     1,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1191                          293455 MOUSSA DIARRA                                    05/24/23   Cash                         $     2,500.00                 SYSTEMUSER ‐ LANDI      No
Deals Cash Receipt     OUTSTANDING   SU0961                          292609 TREVAUGHN DOUGLAS                      700012895 05/25/23   Cheque                       $     5,000.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1139                          293011 MEGAN BROOKS                                     05/25/23   Cash                         $     1,582.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1150                          293508 GARY MIDENCE NUNEZ                               05/26/23   Cash                         $     3,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1174                          293532 JOSE HERNANDEZ ARTEAGA                           05/27/23   Cash                         $     5,000.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU0986                          292308 Gabriela Martinez                                05/27/23   Cash                         $     2,500.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU0986                          292308 Gabriela Martinez                                05/30/23   Cash                         $     5,500.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1135                          293605 MILTON SIMMS                                     05/31/23   Cash                         $     1,000.00                 4008754 ‐ EUGENE LOWE   No
                                                                                                                                                                     $   147,169.40

Deals Cash Receipt     DRAFT         SU1140                          293657 Devin Fletcher                                   06/01/23   Cash                         $     2,200.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1215                          293641 JUNIOR BRITTON                                   06/02/23   Cash                         $     5,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     OUTSTANDING   SU1231                          293697 KEVIN GALBREATH                        700012940 06/03/23   Cash                         $     3,500.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     OUTSTANDING   SU1056                          293685 ONYX PAUL                              700012916 06/08/23   Cheque                       $    10,500.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1140                          293657 Devin Fletcher                                   06/08/23   Cash                         $       800.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1181                          293845 MARC MERCKLING                                   06/09/23   Cash                         $     3,500.00                 0000 ‐ ANTHONY DEO      No
Deals Cash Receipt     OUTSTANDING   SU1055                          292071 Javeil Green                           700012919 06/09/23   Cheque                       $     4,000.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1194                          293887 JUAN CRUZ CABRERA                                06/10/23   Cash                         $        80.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1011                          293907 MARCELO REBOLLEDO                                06/12/23   Cash                         $     1,000.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1011                          293907 MARCELO REBOLLEDO                                06/13/23   Cash                         $     9,000.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     OUTSTANDING   SU1189                          292408 Manuel Romo Gonzalez                   700012925 06/13/23   Cheque                       $     8,684.59                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     OUTSTANDING   SU1202                          293901 ALEX MALDONADO                         700012928 06/14/23   Cheque                       $    15,000.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1205                          293946 Daniel Ellis                                     06/14/23   Cash                         $       500.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1013                          291670 Rodolfo Torres‐abreu                             06/15/23   Cash                         $     5,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1126                          293986 CHARLES BASTIEN                                  06/15/23   Cash                         $     3,000.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU0903                          293872 ADRIAN LOPEZ                                     06/16/23   Cash                         $       464.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU0940A                         294022 MICHELLE OWENS                                   06/16/23   Cash                         $     3,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     OUTSTANDING   SU1147                          293828 BRANDON JOHNSON                        700012932 06/17/23   Cheque                       $     5,200.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     OUTSTANDING   SU0959BB                        294126 HULEN GINN                             700012939 06/21/23   Cash                         $     2,000.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     OUTSTANDING   SU1144                          294124 FARHANA FATEMA                         700012944 06/24/23   Cheque                       $     9,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU0786                          294202 PAUL KELLY                                       06/24/23   Cash                         $     5,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1130                          294112 JAIME CHISAQUINGA                                06/24/23   Cash                         $     8,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         Deal 13055/No stock attached    294223 VICTOR SANTAMARIA‐GONZALEZ                       06/24/23   Cash                         $     2,000.00                 0000 ‐ ANTHONY DEO      No
Deals Cash Receipt     DRAFT         SU1180                          294068 ONEIL THOMPSON                                   06/26/23   Cash                         $     9,000.00                 EMP_111_D ‐ ANDY V      No
General Cash Receipt   OUTSTANDING   No deal/"spiffs"               1000267 NSD NATION MOTOR CLUB LLC              700012951 06/26/23   Business Check               $       100.00 COMM MAY 2023   1210 ‐ KENDRA K         No
Deals Cash Receipt     DRAFT                                        1001610 L & F Luxury Auto                                06/26/23   Cash                         $     1,500.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT                                        1001610 L & F Luxury Auto                                06/26/23   Cash                         $     1,500.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1257                          294316 LLOYD MARRYSHOW                                  06/28/23   Cash                         $     3,000.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1277                          294415 Serrano Ramirez                                  06/30/23   Cash                         $     5,000.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1054                          293996 Johnathan Rabaza                                 06/30/23   Cash                         $       300.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         Dead deal/ customer refunded    294426 SHANICE WHITTAKER                                06/30/23   Cash                         $       500.00                 SYSTEMUSER ‐ LANDI      No
                                                                                                                                                                     $   127,328.59

Deals Cash Receipt     DRAFT         Dead Deal/customer refunded     294448 Hansray kassienauh                               07/01/23   Cash                         $     2,000.00                 4008754 ‐ EUGENE LOWE   No
Deals Cash Receipt     DRAFT         SU1178                          294519 KARLY KAVENAGHT‐PAUL                             07/03/23   Cash                         $     5,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         Dead Deal/customer refunded     294520 DAVID VEGA                                       07/03/23   Cash                         $     2,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     ERROR                                        1001544 L&F LUXURY AUTO L&f Luxury Auto                  07/05/23   Cash                         $     1,500.00                 0000 ‐ ANTHONY DEO      No
Deals Cash Receipt     OUTSTANDING   Dead Deal/customer refunded     294590 RAHEEM WRIGHT                          700013009 07/06/23   Cash                         $     1,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1228                          294432 Mathias Muller                                   07/06/23   Cash                         $     3,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU0818A                         294530 John Crenshaw                                    07/07/23   Cash                         $     3,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1310                          294654 Melesha Tavares                                  07/08/23   Cash                         $     2,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1263                          294664 MARY MALONEY                                     07/08/23   Cash                         $     1,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1296                          294704 fisnik dullovi                                   07/10/23   Cash                         $     5,000.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1278                          294715 MAURILIO PAULA                                   07/13/23   Cash                         $       700.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1278                          294715 MAURILIO PAULA                                   07/13/23   Cash                         $     4,200.00                 EMP_111_D ‐ ANDY V      No
Deals Cash Receipt     DRAFT         SU1266                          294809 CARLOS PRIMOLA ALVAEZ                            07/13/23   Cash                         $       500.00                 EMP_111_D ‐ ANDY V      No
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Deals Cash Receipt     OUTSTANDING   SU1130                         294112 JAIME CHISAQUINGA                700013021 07/20/23   Cashier Check                $    18,358.00 CHASE CASHIERS CHK 1522412286   1210 ‐ KENDRA K      No
General Cash Receipt   OUTSTANDING   No deal/"spiffs"              1000267 NSD NATION MOTOR CLUB LLC        700013022 07/20/23   Business Check               $       300.00 CHK 169089                      1210 ‐ KENDRA K      No
Deals Cash Receipt     OUTSTANDING   SU1063                         294168 SHAWN MILLER                     700013024 07/22/23   Cheque                       $    14,000.00                                 0000 ‐ ANTHONY DEO   No
Deals Cash Receipt     DRAFT         Dead Deal/customer refunded    295043 Jose Abreu Lopez                           07/22/23   Cash                         $     3,500.00                                 0000 ‐ ANTHONY DEO   No
Deals Cash Receipt     OUTSTANDING   SU1033                         295115 Joseph Gentile                   700013035 07/26/23   Cheque                       $    13,000.00                                 0000 ‐ ANTHONY DEO   No
Deals Cash Receipt     DRAFT         SU1033                         295115 Joseph Gentile                             07/26/23   Cash                         $     5,000.00                                 0000 ‐ ANTHONY DEO   No
Deals Cash Receipt     DRAFT         SU1033                         295115 Joseph Gentile                             07/26/23   Cash                         $     2,000.00                                 0000 ‐ ANTHONY DEO   No
Deals Cash Receipt     OUTSTANDING   SU1309                         295223 SANTOS BONILLA                   700013047 07/31/23   Cashier Check                $    20,000.00 CAP1 CC 9106400221 SU1309       1210 ‐ KENDRA K      Yes
Deals Cash Receipt     DRAFT         SU1100                         294854 Isaiah Lancaster                           07/31/23   Cash                         $     3,500.00                                 SYSTEMUSER ‐ LANDI   No
                                                                                                                                                              $   110,558.00

Deals Cash Receipt     DRAFT         SU1177                         295325 JAIME LAY                                  08/01/23   Cash                         $     2,000.00                                 EMP_111_D ‐ ANDY V   No
Deals Cash Receipt     OUTSTANDING   SU1287                         295330 MARC AYO                         700013050 08/02/23   Cash                         $     5,000.00                                 EMP_111_D ‐ ANDY V   Yes
                                                                                                                                                              $     7,000.00
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